Case 17-06018-can Doc 1-1 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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Case 17-06018-can Doc 1-1 Filed 06/22/17 Entered 06/22/17 14:02:17    Desc
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